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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    NOLIS PORCHIA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   No. 1:11-cr-0403 AWI / DLB
                                                       )
12                          Plaintiff,                 )   STIPULATION TO CONTINUE CHANGE OF
                                                       )   PLEA HEARING; ORDER
13          v.                                         )
                                                       )   Date: September 4, 2012
14   NOLIS PORCHIA, et al.                             )   Time: 10:00 a.m.
                                                       )   Judge: Hon. Anthony W. Ishii
15                          Defendant.                 )
                                                       )
16                                                     )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the Change of Plea in the above-captioned matter may be heard on September 4, 2012 at
20   10:00 a.m. before the Honorable Anthony W. Ishii, Chief District Court Judge.
21
22          This reason for the continuance is that counsel are still in plea negotiations and this is a global
23   agreement. This continuance will conserve time and resources for both parties and the court.
24
25          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
26   justice, including but not limited to, the need for the period of time set forth herein for effective defense
27   preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii), and (iv).
28   ///
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1                                                             BEN WAGNER
                                                              United States Attorney
2
3    DATED: August 2, 2012                              By:    /s/ Kimberly Sanchez
                                                              KIMBERLY SANCHEZ
4                                                             Assistant United States Attorney
                                                              Attorney for Plaintiff
5
6                                                             DANIEL J. BRODERICK
                                                              Federal Defender
7
8    DATED: August 2, 2012                            By:      /s/ Ann H. Voris
                                                              ANN H. VORIS
9                                                             Assistant Federal Defender
                                                              Attorney for Defendant
10                                                            Nolis Porchia
11
12
13   DATED: August 2, 2012                            By:      /s/ Jon K. Renge
                                                              JON K. RENGE
14                                                            LAW OFFICE OF JON K. RENGE
                                                              Attorney for Defendant
15                                                            Davier Porchia
16
17
18
19
                                                  ORDER
20
             IT IS SO ORDERED. Time is excluded pursuant to §§ 3161(h)(7)(A), (B)(ii), and (iv).
21
     IT IS SO ORDERED.
22
23   Dated:      August 2, 2012
     0m8i78                                                 CHIEF UNITED STATES DISTRICT JUDGE
24
25
26
27
28

     Stipulation to Continue Status Conference
     Hearing; Order                                  -2-
